
214 Md. 645 (1957)
136 A.2d 247
LANGREHR
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 32, September Term, 1957.]
Court of Appeals of Maryland.
Decided November 20, 1957.
Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT and HORNEY, JJ.
HENDERSON, J., delivered the opinion of the Court.
*646 This is an application for leave to appeal from the denial of a writ of habeas corpus. Petitioner was convicted of burglary in the Criminal Court of Baltimore and sentenced to two years in the House of Correction by Judge Tucker, on February 11, 1957. Petitioner contends that it was never shown that he was the third person involved in the burglary, and that there was no actual proof by witnesses or testimony that he was involved. These complaints go to the sufficiency of the evidence, which cannot be raised on habeas corpus.
Application denied, with costs.
